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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                               :
                                     : Case No.: 17-15913
James Rollins                        : Chapter 13
                                     : Judge Jean K. FitzSimon
       Debtor(s).                    : *******************

                     OBJECTION TO DEBTOR'S CHAPTER 13 PLAN

       Now comes Wells Fargo Bank, NA ("Creditor") by and through its attorneys, Manley

Deas Kochalski LLC, and files this Objection to Debtor's Chapter 13 Plan, averring as follows:

1.     Creditor is a creditor herein secured by a first mortgage lien upon the Debtor's real estate

       located at 4530 Cottman Avenue, Philadelphia, PA 19135.

2.     The Debtor's Chapter 13 Plan proposes to treat Creditor's claim unfairly by providing for

       an inadequate arrearage amount. The amount of the arrearage in the Chapter 13 Plan is

       $10,238.00 and the amount that Creditor has calculated for inclusion in its claim is

       $13,132.58.

3.     Creditor objects to said treatment and asserts that, as of the petition date herein, Creditor's

       claim was fully secured by value in the real estate. Accordingly, § 1322(b)(2) of the

       Bankruptcy Code and the United States Supreme Court's holding in Nobleman v.

       American Savings Bank (In re: Nobleman), 508 U.S. 324 (1993) prohibit the Debtor's

       proposed modification of Creditor's mortgage.

       WHEREFORE, Creditor respectfully requests the Court to deny confirmation of the

Debtor's proposed Chapter 13 Plan.

                                                      Respectfully submitted,

                                                         /s/ Karina Velter
                                                      Karina Velter, Esquire (94781)



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                                           Kimberly A. Bonner (89705)
                                           Adam B. Hall (0088234)
                                           Sarah E. Barngrover (28840-64)
                                           Manley Deas Kochalski LLC
                                           P.O. Box 165028
                                           Columbus, OH 43216-5028
                                           Telephone: 614-220-5611
                                           Fax: 614-627-8181
                                           Attorneys for Creditor
                                           The case attorney for this file is Karina
                                           Velter.
                                           Contact email is kvelter@manleydeas.com




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                   IN THE UNITED STATES BANKRUPTCY COURT
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In re:                               :
                                     : Case No.: 17-15913
James Rollins                        : Chapter 13
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       Debtor(s).                    : *******************

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Objection to Debtor's

Chapter 13 Plan was served on the parties listed below via e-mail notification:

   United States Trustee, Office of the U.S. Trustee, 833 Chestnut Street, Suite 500,
   Philadelphia, PA 19107

   William C. Miller, Chapter 13 Trustee, 1234 Market Street, Suite 1813, Philadelphia, PA
   19107

   Brad J. Sadek, Attorney for James Rollins, Sadek and Cooper, 1315 Walnut Street,
   Philadelphia, PA 19107, brad@sadeklaw.com

The below listed parties were served via regular U.S. Mail, postage prepaid, on September ___,
                                                                                          26
2017:

   James Rollins, 4530 Cottman Avenue, Philadelphia, PA 19135



       9/26/17
DATE: ______________                                  /s/ Karina Velter
                                                    ________
                                                    Karina Velter, Esquire (94781)
                                                    Kimberly A. Bonner (89705)
                                                    Adam B. Hall (0088234)
                                                    Sarah E. Barngrover (28840-64)
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